         Case No. 1:23-cv-01550-SBP Document 13-5 filed 07/17/23 USDC Colorado pg 1 of 1
2/21/23, 11:51 PM                                                   Gmail - 170 Coolidge court



                                                                                                 Eric Witt <ericwitt34@gmail.com>



  170 Coolidge court
  1 message

  Eric Witt <ericwitt34@gmail.com>                                                                     Mon, Jul 25, 2022 at 6:02 PM
  To: utility_billing@bennett.co.us

    Payment made last Thursday. Please turn on water.
    Eric witt
    170 Coolidge Court bennett CO 80102




                    Screenshot_20220725-180134_Chrome.jpg
                    309K




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